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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                              No. 4:08CR00377 JLH

CARLOS LAMONT BROWN


                               FINAL ORDER OF FORFEITURE

        WHEREAS, on November 4, 2009, this Court entered a Preliminary Order of Forfeiture,

ordering defendant to forfeit his interest in the following:

                $714.00 in United States Currency
                Gateway laptop Computer, Model MT6711, P/N IMA7A000105
                Laptop Carrying Case
                Power Cord
                ROHS Card Reader, a/k/a Skimming Device bearing #41
                Magnetic Stripe Card Reader/Writer, Model MSR505C w/ Power cord

        WHEREAS, the United States caused to be published on the forfeiture website, internet

address of www.forfeiture.gov for thirty consecutive days beginning on November 27, 2009,

notice of this forfeiture and of the intent of the United States to dispose of the property in

accordance with the law and as specified in the Preliminary Order. and further notifying all third

parties of their right to petition the Court within thirty (30) days for a hearing to adjudicate the

validity of their alleged legal interest in the property;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        WHEREAS, the Court finds that defendant had an interest in the property that is subject

to forfeiture pursuant to Title 18, U.S.C.§ 982(a)(2)(B) and Title 18, U.S.C.§ 1029(2)(1)(c) .
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       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

               $714.00 in United States Currency
               Gateway laptop Computer, Model MT6711, P/N IMA7A000105
               Laptop Carrying Case
               Power Cord
               ROHS Card Reader, a/k/a Skimming Device bearing #41
               Magnetic Stripe Card Reader/Writer, Model MSR505C w/ Power cord

are hereby forfeited to the United States of America pursuant to Title 18, U.S.C.§ 982(a)(2)(B)

and Title 18, U.S.C. § 1029(2)(1)(c).

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title, and

interest in all of the property set forth above is hereby condemned, forfeited and vested in the

United States of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

       IT IS SO ORDERED this 12th day of February, 2010.




                                                     __________________________________
                                                     UNITED STATES DISTRICT JUDGE




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